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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 TOP GUN AMMO SALES, LLC.,                         )
                                                   )
        Plaintiff,                                 )
                                                   )
 vs.                                               )   Case No. 4:21-cv-00770-SEP
                                                   )
 COF TECHNOLOGIES, LLC, et al.,                    )
                                                   )
        Defendants.                                )

                                            ORDER
       This matter is before the Court on Defendants’ Joint Stipulation of Extension of Time to
Answer (Doc. [9]). Defendants request an extension of time to move, answer, or otherwise
respond to Plaintiff’s petition no later than July 9, 2021. The Court may extend any time limit
for good cause. Local Rule 1.05 (emphasis added). Defendants’ motion, while unopposed by
Plaintiff, provides no basis on which the Court could find good cause for the extension.
Accordingly,
       IT IS HEREBY ORDERED that Defendants’ Motion for Extension, Doc. [20], is
DENIED.
       Dated this 30th day of June, 2021.



                                                 SARAH E. PITLYK
                                                 UNITED STATES DISTRICT JUDGE
